                Case 19-50067 Document 38 Filed in TXSB on 09/13/19 Page 1 of 2


                             UNITED STATES BANKRUPTCY COURT
                                                     Southern District of Texas


In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8     )
years including married, maiden, trade, and address):             )
                                                                  )
Arthur Albert Gutierrez                                           )Case Number: 19−50067
                                                                  )
xxx−xx−7757                                                       )
1923 Denmark Lane                                                 )
Laredo, TX 78045                                                  )
                                                                  )
                                                                  )
                                                                  )Chapter: 7
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                                                                  )


                              NOTICE OF ASSETS, NOTICE TO CREDITORS AND
                          OTHER PARTIES IN INTEREST OF THE NEED TO FILE CLAIMS


Notice is hereby given that:
It having appeared from the schedules of the debtor at the time of filing that there was no estate from which any
dividend could be paid to creditors, the notice to creditors advised that it was unnecessary for any creditor to file his
claim at that time.

It appearing subsequently that there is an estate from which a dividend to creditors may be paid, creditors must now
file claims in this case in order to share in any distribution from the estate. CLAIMS MUST BE FILED ON OR
BEFORE December 16, 2019

Claims which are not filed timely as set forth above will not be allowed, except as otherwise provided by law. A
claim may be filed in the Office of the Clerk of the Bankruptcy Court on an official form prescribed for a proof of
claim.

                   MAIL TO:

                                       United States Bankruptcy Court
                                       1300 Victoria Street
                                       Laredo, TX 78040




                                                                  David J. Bradley
                                                                  Clerk of Court

Filed: September 11, 2019
Trustee: Catherine Stone Curtis
                     Case 19-50067 Document 38 Filed in TXSB on 09/13/19 Page 2 of 2
                                               United States Bankruptcy Court
                                                Southern District of Texas
In re:                                                                                                     Case No. 19-50067-drj
Arthur Albert Gutierrez                                                                                    Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0541-5                  User: dhan                         Page 1 of 1                          Date Rcvd: Sep 11, 2019
                                      Form ID: ntcasset                  Total Noticed: 18


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 13, 2019.
db             +Arthur Albert Gutierrez,   1923 Denmark Lane,     Laredo, TX 78045-8385
cr             +Nationstar Mortgage LLC d/b/a Mr. Cooper,    PO BOX 619096,    Dallas, TX 75261-9096
10678867        Credence Resource Management LLC,    PO Box 2238,    Southgate, MI 48195-4238
10678871       +GC Services,   Limited Partnership,    PO Box 3346,    Houston, TX 77253-3346
10678872        Midland Credit Management, Inc.,    PO Box 51319,    Los Angeles, CA 90051-5619
10678873       +Nationstar Mortgage,   DBA Mr Cooper,    PO Box 619094,    Dallas, TX 75261-9094

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +EDI: AISACG.COM Sep 12 2019 01:13:00       Capital One Auto Finance, a division of Capital On,
                 4515 N Santa Fe Ave. Dept. APS,     Oklahoma City, OK 73118-7901
10678862       +EDI: AARGON.COM Sep 12 2019 01:13:00       Aargon Agency, Inc.,    8668 Spring Mountain Road,
                 Las Vegas, NV 89117-4132
10678861        EDI: CAPITALONE.COM Sep 12 2019 01:13:00       Capital One,    P0 Box 60599,
                 City of Industry, CA 91716-0599
10678863        EDI: CAPONEAUTO.COM Sep 12 2019 01:13:00       Capital One Auto Finance,     PO Box 60511,
                 City of Industry, CA 91716-0511
10701924       +EDI: AISACG.COM Sep 12 2019 01:13:00       Capital One Auto Finance, a division of Capital On,
                 P.O. Box 4360,    Houston, TX 77210-4360
10678864        E-mail/Text: tuscolsup@fisglobal.com Sep 11 2019 21:52:36
                 Complete Payment Recovery Services, Inc.,     PO Box 30184,    Tampa, FL 33630-3184
10678868       +EDI: RCSFNBMARIN.COM Sep 12 2019 01:13:00       Credit One Bank,    PO Box 98873,
                 LAS VEGAS, NV 89193-8873
10678869       +EDI: DCI.COM Sep 12 2019 01:13:00       Diversified Consultants Inc.,    DBA DCI,
                 10550 Deerwood Pk Blvd Ste7O8,    Jacksonville, FL 32256-0596
10678870       +E-mail/Text: bknotice@ercbpo.com Sep 11 2019 21:52:05        Enhanced Recovery,    PO Box 57547,
                 Jacksonville, FL 32241-7547
10686049        EDI: IRS.COM Sep 12 2019 01:13:00       INTERNAL REVENUE SERVICE,    P O Box 7346,
                 Philadelphia PA 19101-7346
10721543        EDI: RESURGENT.COM Sep 12 2019 01:13:00       LVNV Funding, LLC,    Resurgent Capital Services,
                 PO Box 10587,   Greenville, SC 29603-0587
10678874        E-mail/Text: courts@scott-pc.com Sep 11 2019 21:52:49        Scott & Associates PC,
                 Attorneys At Law,    PO Box 115220,    Carrollton, TX 75011-5220
                                                                                                TOTAL: 12

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 13, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 11, 2019 at the address(es) listed below:
              Catherine Stone Curtis    ccurtis@pulmanlaw.com,
               ecf@pulmanlaw.com;mgarcia@pulmanlaw.com;csc@trustesolutions.net
              Kelly Jean Harvey    on behalf of Creditor   Nationstar Mortgage LLC d/b/a Mr. Cooper
               kelly@kellyharvey.com, rosie@kellyharvey.com;latoya@kellyharvey.com;Esther@kellyharvey.com
              Megan F. Clontz    on behalf of Creditor   Nationstar Mortgage LLC d/b/a Mr. Cooper
               mclontz@alaw.net,
               BKTX@albertellilaw.com;cjacocks@albertellilaw.com;anhsalaw@infoex.com;anhsalaw@infoex.com
              US Trustee   USTPRegion07.HU.ECF@USDOJ.GOV
                                                                                             TOTAL: 4
